242 F.2d 758
    J. Thomas MILEY, Plaintiff, Appellant,v.JOHN HANCOCK MUTUAL LIFE INSURANCE COMPANY et al.,Defendants, Appellees.
    No. 5211.
    United States Court of Appeals First Circuit.
    April 11, 1957.
    
      John H. Devine, Boston, Mass., with whom Devine, York &amp; Volpe, Boston, Mass., was on brief, for appellant.
      Daniel J. Lyne, Boston, Mass., with whom Edward J. Duggan and Lyne, Woodworth &amp; Evarts, Boston, Mass., were on brief, for John Hancock Mut. Life Ins. Co., Boston Mut. Life Ins. Co., Clarence W. Wtatt and Edward A. Green, appellees.
      Charles B. Rugg, Boston, Mass., with whom Levin H. Campbell and Ropes, Gray, Best, Coolidge &amp; Rugg, Boston, Mass., were on brief, for State Mut. Life Assur. Co. of Worcester and Alan R. Willson, appellees.
      Lothrop Withington, Boston, Mass., with whom Claude B. Cross, Charles C. Worth and Withington, Cross, Park &amp; McCann, Boston, Mass., were on brief, for Columbian Nat. Life Ins. Co. and Loyal Protective Life Ins. Co., appellees.
      Brinley M. Hall, Boston, Mass., with whom John L. Hall, Rhodes G. Lockwood, Jeptha H. Wade and Choate, Hall &amp; Stewart, Boston, Mass., were on brief, for Monarch Life Ins. Co., New England Mut. Life Ins. Co., Paul Revere Life Ins. Co. and John Hill, appellees.
      Joseph H. Elcock, Jr., Asst. Atty. Gen., Massachusetts, with whom George Fingold, Atty. Gen., Massachusetts, was on brief, for Theodore W. Fabisak, Joseph A. Humphreys, John M. Deely, Horace Gooch, Jr., and Carl A. Sheridan, appellees.
      Before MAGRUDER, Chief Judge, and WOODBURY and HARTIGAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      The order of dismissal is affirmed on the memorandum of decision issued by Judge Ford. 148 F.Supp. 299.
    
    